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                                           UNITED STATES DISTRICT COURT
           16
                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
           17
                                                    OAKLAND DIVISION
           18

           19    EPIC GAMES, INC.,                           Case No. 4:20-cv-05640-YGR-TSH

           20                          Plaintiff, Counter-   APPLE INC.’S REPLY IN SUPPORT OF ITS
                                       defendant             MOTION FOR JUDGMENT ON PARTIAL
           21                                                FINDINGS PURSUANT TO FED. R. CIV. P.
                       v.                                    52(c)
           22
                 APPLE INC.,
           23
                                       Defendant,
           24                          Counterclaimant.

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Crutcher LLP          APPLE INC.’S REPLY IN SUPPORT OF ITS MOTION FOR JUDGMENT ON PARTIAL FINDINGS,
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                          APPLE INC.’S REPLY IN SUPPORT OF ITS MOTION FOR JUDGMENT ON PARTIAL FINDINGS,
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            1                                                 DISCUSSION
            2           Epic’s response confirms what this Court has already observed—there is no evidence in the

            3    record relating to Epic’s essential facility claim. While Epic attempts to repurpose some of its evidence

            4    regarding other issues, essential facility claims have distinct elements and require distinct proof. As

            5    Epic does not dispute, Dr. Evans expressly disclaimed that he was offering an opinion on essential

            6    facility. See Trial Tr. 1673:8–11, 2390:16–2391:2 (Evans). There is no other evidence that could

            7    support judgment for Epic on this claim; on the contrary, the trial evidence confirms that iOS—Apple’s

            8    proprietary operating system—cannot constitute an essential facility, and that Epic actually has access

            9    to iOS. Epic may prefer different terms of access, but that is no basis for an essential facility claim.

           10    Apple is entitled to judgment on Count Two.

           11    A.     iOS Is Not an Essential Facility
           12           There is no evidence in the record that iOS is an essential facility. Epic’s own expert disclaimed

           13    any opinion on the essential facility doctrine, see Trial Tr. 1673:8–11 (Evans), and affirmatively

           14    testified that operating systems should not be treated as utilities, see Trial Tr. 2382:8–13 (Evans). Epic

           15    contends that this concession does not mean that iOS cannot be an essential facility, see Opp’n 4, but

           16    that is precisely what it means. The consequence of deeming something an essential facility is that

           17    competitors have a right to access it for the purpose of providing their own competing service. Aerotec

           18    Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1185 (9th Cir. 2016). In response to a direct question

           19    from the Court, Dr. Evans denied that iOS is utility-like, and thus that it is “essential” within the

           20    meaning of this doctrine. See Trial Tr. 2381:21–2382:18 (Evans).

           21           The evidence that is in the record squarely refutes Epic’s claim. Epic does not dispute that

           22    Fortnite was extremely successful before it ever launched on iOS, or that its business through iOS

           23    accounts for a fraction of Fortnite’s revenue. Trial Tr. 1337:19–21 (Weissinger); DX-4766. Instead,

           24    Epic argues that it has “brought its essential facility claim in its capacity as a potential competing

           25    distributor of iOS apps, not as an app developer.” Opp’n 3. This is a concession that Epic as

           26    “developer” (i.e., anything related to Fortnite) has no essential facility claim. And Epic as “distributor”

           27    (i.e., operator of the Epic Games Store) offers EGS on both the PC and Mac platforms, and Android is

           28    an available platform for distribution through EGS. Where there are multiple avenues of distribution,

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            1    one of them cannot be “essential.” A facility is not essential unless it has “eliminated all possibility of
            2    competition in the downstream market.” Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536,
            3    543 (9th Cir. 1991) (emphasis added). iOS is not “essential” to Epic’s distribution business.
            4            Epic’s evidentiary presentation is particularly deficient in light of the fact that it is asking this
            5    Court to be the first to declare intellectual property an essential facility. Epic insists that intellectual
            6    property can constitute an essential facility, see Opp’n 3–4, yet in support, it cites only an out-of-circuit
            7    district court decision that was overturned on appeal and a denial of summary judgment that did not
            8    even directly address this issue, see id. Suffice to say, neither of those cases calls into question the
            9    fundamental proposition—which Epic does not dispute—that there has been “no case in which a United
           10    States court consciously held that an intellectual property right was itself an essential facility that must
           11    be licensed on reasonable and nondiscriminatory terms.” Herbert Hovenkamp et al., IP and Antitrust:
           12    An Analysis of Antitrust Principles Applied to Intellectual Property § 13.03 [C][2] (3rd ed. 2020 supp.).
           13    Nor does Epic dispute that only preexisting “bottlenecks” typically have been deemed essential
           14    facilities by the courts. See MCI Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1148 (7th
           15    Cir. 1983). Epic has given this Court no factual or legal basis to break new ground.
           16            Epic argues that “Apple is inviting the Court to make an extraordinary exception to antitrust
           17    law that would exclude the majority of the modern technology and digital economy.” Opp’n 4. There
           18    are well-established considerations for assessing the interplay between the antitrust laws and the
           19    intellectual property laws. See Trial Tr. 3606:15–3607:7 (Malackowski); DX-3305. The essential
           20    facility doctrine is not part of that calculus. It is, in fact, Epic’s argument that is “extraordinary” and
           21    “exception[al],” Opp’n 4—under its theory, any firm’s intellectual property is subject to appropriation
           22    by competitors if the firm is successful in attracting consumers and developing a distinct brand. There
           23    is no all-or-nothing requirement for licensing anywhere in the antitrust laws—indeed, such a
           24    requirement would override the incentives to license at all, and chill the sharing of IP that is part and
           25    parcel of intellectual property rights.       Ex. Expert 12 ¶ 64 (Malackowski); DX-3305.007–008
           26    (discussing procompetitive benefits of licensing). As then-Judge Gorsuch put it, a competitor cannot
           27    “just demand the right to piggyback on its larger rival.” Novell, Inc. v. Microsoft Corp., 731 F.3d 1064,
           28    1073 (10th Cir. 2013). iOS is the intellectual property of Apple—developed through years and billions

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            1    of dollars of investment—and it would set a dangerous precedent to declare that such intellectual
            2    property may be deemed “essential” to competitors.
            3           Far from disputing this point, Epic embraces it: “If Epic did go to the enormous lengths
            4    necessary to develop a competing smartphone operating system, by definition, it would give rise to an
            5    entirely different platform and app distribution market.” Opp’n 3 (emphasis added). Every operating
            6    system, in Epic’s view, is an “essential facility” to which competitors must be given unfettered (and
            7    apparently uncompensated) access. The antitrust laws have never been stretched so far—in no small
            8    part because doing so would deprive the innovators who create operating systems of their intellectual
            9    property rights.
           10    B.     Epic Has Access to iOS
           11           Even if iOS were an essential facility, Epic has not been denied access. And “where access
           12    exists, the [essential facility] doctrine serves no purpose.” Verizon Commc’ns Inc. v. Law Offices of
           13    Curtis V. Trinko, LLP, 540 U.S. 398, 411 (2004).
           14           Epic does not dispute that it actually has access to iOS, nor could it: Epic has been part of the
           15    Apple Developer Program since 2010. Trial Tr. 166:16–167:2 (Sweeney). Epic has used Apple’s
           16    proprietary tools—including access to iOS—to develop and distribute apps on which it has earned
           17    hundreds of millions of dollars. This fact destroys Epic’s argument that “this is not an instance where
           18    a plaintiff is merely complaining about the terms on which access is being afforded.” Opp’n 6. Epic’s
           19    argument that “EGS is not permitted any access to iOS whatsoever,” id., ignores the fact that EGS is
           20    just one of the products or services developed and marketed by Epic Games, Inc., which undisputedly
           21    has access to iOS (and has distributed other apps, including Fortnite, through the App Store). Denial
           22    of access under the essential facility doctrine means denial of all access, not some access.
           23           Epic as “distributor” wants to distribute EGS as an app through the App Store. Trial Tr.
           24    1198:23–25, 1233:8–1234:1 (Allison). Such a “store-within-a-store” app is prohibited by Apple’s
           25    Guidelines—just as it is prohibited on Xbox, PlayStation, or Switch. While Epic would prefer changes
           26    in the terms of access to iOS, “[e]ssential means essential,” not “‘best,’ ‘most profitable’ or
           27    ‘preferable.’” JamSports & Entm’t, LLC v. Paradama Prods., Inc., 336 F. Supp. 2d 824, 839 (N.D. Ill.
           28    2004). There is simply no evidence in the record to support such a finding. On the contrary, the record

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            1    shows that other distributors—including Steam—have been successful on a variety of platforms,
            2    including iOS, even without operating a store-within-a-store on the App Store. See Trial Tr. 1840:3–
            3    1850:12 (Athey); DX5601; DX5603; DX5617; DX5622. And Epic is free to distribute individual apps
            4    to iOS customers so long as it complies with Apple’s developer agreements and guidelines.
            5           Epic’s entire theory rests on the terms and conditions that Apple imposes on the use of its
            6    intellectual property. See Opp’n 2–3 (citing PX2619 (DPLA); PX2790 (App Review Guidelines)). It
            7    is thus a dispute about the terms of access to iOS; and as the post-trial hearing made clear, what Epic
            8    is seeking is that Apple modify the terms of access in a way “conducive to [Epic’s] existing business
            9    model.” MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1130 (9th Cir. 2004). But that does
           10    not mean Epic lacks access, only that it does not have the kind of access it wants. The essential facility
           11    doctrine has no applicability in these circumstances.
           12                                                CONCLUSION
           13           For the foregoing reasons, the Court should grant judgment on partial findings in favor of Apple
           14    and against Epic on Count 2 of Epic’s complaint.
           15
                 DATED: May 26, 2021                   By      /s/ Mark A. Perry
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